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 In re         James Randall Johnson                                                                      Case No.        13-23089
                                                                                                ,
                                                                             Debtor

                                                 SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                               Husband,    Current Value of
                                                                   Nature of Debtor's           Wife,     Debtor's Interest in              Amount of
               Description and Location of Property                Interest in Property         Joint, or  Property, without               Secured Claim
                                                                                              Community Deducting  any Secured
                                                                                                          Claim or Exemption




                     None




                                                                                                 Sub-Total >                  0.00         (Total of this page)

                                                                                                      Total >                 0.00
 0     continuation sheets attached to the Schedule of Real Property
                                                                                                 (Report also on Summary of Schedules)
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B6B (Official Form 6B) (12/07)


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  In re         James Randall Johnson                                                                              Case No.       13-23089
                                                                                                       ,
                                                                                        Debtor

                                                        SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

1.    Cash on hand                                            Cash on hand                                                    -                         200.00

2.    Checking, savings or other financial                    USAA checking/savings account                                   -                         500.00
      accounts, certificates of deposit, or
      shares in banks, savings and loan,
      thrift, building and loan, and
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                       X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                        Household items, furniture                                      -                         600.00
      including audio, video, and
      computer equipment.

5.    Books, pictures and other art                           Books, pictures, art, decor                                     -                         500.00
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                        Clothing                                                        -                         750.00

7.    Furs and jewelry.                                       Jerelry, watches, rings                                         -                         750.00

8.    Firearms and sports, photographic,                      Sporting goods, cameras, hobby gear                             -                         600.00
      and other hobby equipment.

9.    Interests in insurance policies.                    X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                      X
    issuer.




                                                                                                                              Sub-Total >           3,900.00
                                                                                                                  (Total of this page)

  2     continuation sheets attached to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re         James Randall Johnson                                                                             Case No.       13-23089
                                                                                                      ,
                                                                                     Debtor

                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                            (Continuation Sheet)

                                                          N                                                              Husband,        Current Value of
                Type of Property                          O               Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                               Joint, or   without Deducting any
                                                          E                                                             Community Secured Claim or Exemption

11. Interests in an education IRA as                      X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                    X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                   X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                    X
    ventures. Itemize.

15. Government and corporate bonds                        X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                  X

17. Alimony, maintenance, support, and                    X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                   X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                          X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                     X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.


                                                                                                                             Sub-Total >                0.00
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Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property
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B6B (Official Form 6B) (12/07) - Cont.




 In re         James Randall Johnson                                                                Case No.        13-23089
                                                                                        ,
                                                                       Debtor

                                           SCHEDULE B - PERSONAL PROPERTY
                                                              (Continuation Sheet)

                                            N                                                              Husband,        Current Value of
               Type of Property             O               Description and Location of Property            Wife,     Debtor's Interest in Property,
                                            N                                                               Joint, or   without Deducting any
                                            E                                                             Community Secured Claim or Exemption

22. Patents, copyrights, and other          X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other         X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations    X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and      X
    other vehicles and accessories.

26. Boats, motors, and accessories.         X

27. Aircraft and accessories.               X

28. Office equipment, furnishings, and      X
    supplies.

29. Machinery, fixtures, equipment, and     X
    supplies used in business.

30. Inventory.                              X

31. Animals.                                X

32. Crops - growing or harvested. Give      X
    particulars.

33. Farming equipment and                   X
    implements.

34. Farm supplies, chemicals, and feed.     X

35. Other personal property of any kind         Garnishment by IRS within last 90 days                          -                      1,500.00
    not already listed. Itemize.
                                                Garnishment by Attorney John Humphreys on                       -                      1,500.00
                                                behalf of JB Enterprises and Real Estate, LLC
                                                (estimated to be $966.50, but may be more)

                                                Possible tax refunds                                            -                      2,000.00



                                                                                                               Sub-Total >           5,000.00
                                                                                                   (Total of this page)
                                                                                                                    Total >          8,900.00
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                           (Report also on Summary of Schedules)
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 B6C (Official Form 6C) (4/13)


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   In re         James Randall Johnson                                                                               Case No.           13-23089
                                                                                                         ,
                                                                                      Debtor

                                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                $155,675. (Amount subject to adjustment on 4/1/16, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                     with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                              Specify Law Providing                         Value of                 Current Value of
                   Description of Property                                       Each Exemption                             Claimed                  Property Without
                                                                                                                           Exemption               Deducting Exemption
Cash on Hand
Cash on hand                                                            11 U.S.C. § 522(d)(5)                                        200.00                            200.00

Household Goods and Furnishings
Household items, furniture                                              11 U.S.C. § 522(d)(3)                                        600.00                            600.00

Books, Pictures and Other Art Objects; Collectibles
Books, pictures, art, decor                         11 U.S.C. § 522(d)(3)                                                            500.00                            500.00

Wearing Apparel
Clothing                                                                11 U.S.C. § 522(d)(3)                                        750.00                            750.00

Furs and Jewelry
Jerelry, watches, rings                                                 11 U.S.C. § 522(d)(4)                                        750.00                            750.00

Firearms and Sports, Photographic and Other Hobby Equipment
Sporting goods, cameras, hobby gear             11 U.S.C. § 522(d)(5)                                                                600.00                            600.00

Other Personal Property of Any Kind Not Already Listed
Garnishment by IRS within last 90 days            11 U.S.C. § 522(d)(5)                                                            1,500.00                         1,500.00

Garnishment by Attorney John Humphreys on                               11 U.S.C. § 522(d)(5)                                      1,500.00                         1,500.00
behalf of JB Enterprises and Real Estate, LLC
(estimated to be $966.50, but may be more)

Possible tax refunds                                                    11 U.S.C. § 522(d)(5)                                      2,000.00                         2,000.00




                                                                                                         Total:                    8,400.00                         8,400.00
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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 B6D (Official Form 6D) (12/07)


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  In re         James Randall Johnson                                                                                        Case No.     13-23089
                                                                                                                ,
                                                                                                 Debtor

                                   SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                            C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
             CREDITOR'S NAME                                O                                                            O    N   I
                                                            D   H            DATE CLAIM WAS INCURRED,                    N    L   S        CLAIM
          AND MAILING ADDRESS                               E                                                            T    I   P       WITHOUT            UNSECURED
           INCLUDING ZIP CODE,                              B   W              NATURE OF LIEN, AND                       I    Q   U                          PORTION, IF
                                                            T   J             DESCRIPTION AND VALUE                      N    U   T
                                                                                                                                         DEDUCTING
          AND ACCOUNT NUMBER                                O                                                            G    I   E       VALUE OF              ANY
            (See instructions above.)
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B6E (Official Form 6E) (4/13)


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 In re         James Randall Johnson                                                                                              Case No.            13-23089
                                                                                                                     ,
                                                                                               Debtor

                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
    account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
    column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of Certain Liabilities and Related Data.
          Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
    of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
    trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
    representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
        Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
    delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and certain other debts owed to governmental units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to maintain the capital of an insured depository institution
       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
    Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

         Claims for death or personal injury while debtor was intoxicated
       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
    another substance. 11 U.S.C. § 507(a)(10).




    * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                            0         continuation sheets attached
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 B6F (Official Form 6F) (12/07)


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   In re         James Randall Johnson                                                                                   Case No.         13-23089
                                                                                                                 ,
                                                                                               Debtor


                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                        C   Husband, Wife, Joint, or Community                              C   U   D
                   CREDITOR'S NAME,                                     O                                                                   O   N   I
                   MAILING ADDRESS                                      D   H                                                               N   L   S
                 INCLUDING ZIP CODE,                                    E               DATE CLAIM WAS INCURRED AND                         T   I   P
                                                                            W
                AND ACCOUNT NUMBER
                                                                        B             CONSIDERATION FOR CLAIM. IF CLAIM                     I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                        T   J                                                               N   U   T
                                                                        O               IS SUBJECT TO SETOFF, SO STATE.                     G   I   E
                  (See instructions above.)                             R
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                                                                                                                                            E   D   D
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Account No.                                                                     Notice                                                      T   T
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74th District Court
1230 Washington                                                             -
Bay City, MI 48708

                                                                                                                                                                            0.00
Account No.                                                                     Medical bill

Abbott Neurology Care Center
7326 Gratiot                                                                -
Saginaw, MI 48609

                                                                                                                                                                         190.00
Account No.                                                                     Medcial bill

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c/o CBM Services, Inc.                                                      -
300 Rodd St Ste 202
Midland, MI 48640
                                                                                                                                                                         200.00
Account No.                                                                     Credit card

American Express
Box 0001                                                                    -
Los Angeles, CA 90096-0001

                                                                                                                                                                     10,000.00

                                                                                                                                        Subtotal
 13 continuation sheets attached
_____                                                                                                                                                                10,390.00
                                                                                                                              (Total of this page)




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                                                                                                                                                     Best Case Bankruptcy
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 B6F (Official Form 6F) (12/07) - Cont.




   In re         James Randall Johnson                                                                               Case No.     13-23089
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                     Credit card - notice                                    E
                                                                                                                                        D

American Express
Box 0001                                                                    -
Los Angeles, CA 90096-0001

                                                                                                                                                        Unknown
Account No.                                                                     Medical bill

Bay Regional Medical Center
PO Box 68                                                                   -
Bay City, MI 48707

                                                                                                                                                         5,000.00
Account No.                                                                     Loan

BJ Humphreys
5090 State St. Ste. 1 Bldg A                                                -
Saginaw, MI 48603

                                                                                                                                                       20,000.00
Account No.                                                                     Medical bill

Caddoes Emergency Physicians
c/o RMA/NCO Financial                                                       -
2675 Breckinridge Blvd
Duluth, GA 30096
                                                                                                                                                           500.00
Account No.                                                                     Notice

Cadillac Accounts Receivable
PO Box 358                                                                  -
Cadillac, MI 49601

                                                                                                                                                        Unknown

           1
Sheet no. _____     13 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                       25,500.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         James Randall Johnson                                                                               Case No.     13-23089
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
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                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                     Credit card                                             E
                                                                                                                                        D

Capital One
PO Box 30281                                                                -
Salt Lake City, UT 84130

                                                                                                                                                           500.00
Account No.                                                                     Collection account

CBC Credit Services
PO Box 445                                                                  -
Mount Pleasant, MI 48804

                                                                                                                                                       Unknown
Account No.                                                                     Collection account

CBM Services, Inc
300 Rodd Street, Ste 202                                                    -
Midland, MI 48640

                                                                                                                                                       Unknown
Account No.                                                                     Cable bill

Charter Communications
PO Box 3019                                                                 -
Milwaukee, WI 53201-3019

                                                                                                                                                           200.00
Account No.                                                                     Notice

Chemical Bank & Trust
PO Box 231                                                                  -
Midland, MI 48640

                                                                                                                                                              0.00

           2
Sheet no. _____     13 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                           700.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         James Randall Johnson                                                                               Case No.     13-23089
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                     Notice                                                  E
                                                                                                                                        D

Chrysler Financial
PO Box 55000                                                                -
Dept 277001
Detroit, MI 48255
                                                                                                                                                        7,000.00
Account No.                                                                     Medical bills

Cleveland Clinic
525 Okeechobee Blvd                                                         -
West Palm Beach, FL 33401

                                                                                                                                                      200,000.00
Account No.                                                                     Collection account

Commonwealth Financial
245 Main                                                                    -
Scranton, PA 18519

                                                                                                                                                       Unknown
Account No.                                                                     Notice

Computer Credit, Inc.
PO Box 5238                                                                 -
Winston Salem, NC 27113

                                                                                                                                                       Unknown
Account No.                                                                     Collection account

Credit Management
4200 International                                                          -
Carrollton, TX 75007

                                                                                                                                                       Unknown

           3
Sheet no. _____     13 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                      207,000.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         James Randall Johnson                                                                               Case No.     13-23089
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                     Notice                                                  E
                                                                                                                                        D

Credit Services of Michigan
1982 Hemmeter                                                               -
Saginaw, MI 48603

                                                                                                                                                       Unknown
Account No.                                                                     Credit card

Diners Club
Attn: Bankruptcy                                                            -
PO Box 6101
Carol Stream, IL 60197
                                                                                                                                                        7,000.00
Account No.                                                                     School loans

DPT ED / SLM
PO Box 9635                                                                 -
Wilkes Barre, PA 18773

                                                                                                                                                       10,000.00
Account No.                                                                     Collection

Enhanced Recover Co LLC
8014 Bayberry Rd.                                                           -
Jacksonville, FL 32256

                                                                                                                                                       Unknown
Account No.                                                                     Credit card

First Premier
3820 Louise Ave.                                                            -
Sioux Falls, SD 57107

                                                                                                                                                           500.00

           4
Sheet no. _____     13 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                       17,500.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         James Randall Johnson                                                                               Case No.     13-23089
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                     Lease fees                                              E
                                                                                                                                        D

Ford Motor Credit
30600 Telegraph Road                                                        -
Bingham Farms, MI 48025

                                                                                                                                                        6,000.00
Account No.                                                                     Unpaid bill

General Reporting Service
5140 State Ste. #203                                                        -
Saginaw, MI 48608

                                                                                                                                                           500.00
Account No.                                                                     Medical bill

Great Lakes Eye Institute
c/o Cadillac Accounts Receivables                                           -
PO Box 358
Cadillac, MI 49601
                                                                                                                                                           200.00
Account No.                                                                     Notice

Harvard Collection Srvc
4839 N Elston Ave                                                           -
Attn: Betty
Chicago, IL 60630
                                                                                                                                                       Unknown
Account No.                                                                     Lawsuit judgement

Holli J. Wallace
4905 Berl Dr.                                                               -
Saginaw, MI 48604

                                                                                                                                                       20,000.00

           5
Sheet no. _____     13 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                       26,700.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         James Randall Johnson                                                                               Case No.     13-23089
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
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                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                     Collection                                              E
                                                                                                                                        D

Household Credit Services
PO Box 98706                                                                -
Las Vegas, NV 89193

                                                                                                                                                       Unknown
Account No.                                                                     Ad

Interlude/Horack LLC
401 Saginaw St.                                                             -
Bay City, MI 48708

                                                                                                                                                           500.00
Account No.                                                                     Income Taxes

Internal Revenue Service
SBSE Insolvency Unit                                                        -
PO Box 330550 Stop 15
Detroit, MI 48232
                                                                                                                                                       60,000.00
Account No.                                                                     Notice

Internal Revenue Service
Insolvency Section                                                          -
PO Box 21126
Philadelphia, PA 19114
                                                                                                                                                              0.00
Account No.

James Boufford and
JB Enterprises and Real Estate LLC                                          -
8411 Freeland Rd.
Freeland, MI 48623
                                                                                                                                                       22,000.00

           6
Sheet no. _____     13 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                       82,500.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         James Randall Johnson                                                                               Case No.     13-23089
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
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                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                     Notice                                                  E
                                                                                                                                        D

LVNV Funding
PO Box 10584                                                                -
Greenville, SC 29603

                                                                                                                                                       Unknown
Account No.                                                                     Medical bill

Mark Jones, MD
c/o Receivables Management Inc                                              -
PO Box 1385
Saginaw, MI 48605
                                                                                                                                                           200.00
Account No.                                                                     Notice

Mark King
PO Box 246                                                                  -
Bay City, MI 48707

                                                                                                                                                              0.00
Account No.                                                                     Credit card

Master Card
2000 Purchase Street                                                        -
Purchase, NY 10577

                                                                                                                                                        5,000.00
Account No.                                                                     Notice

Michigan Attorney General
Law Building                                                                -
525 Ottawa
Lansing, MI 48922
                                                                                                                                                              0.00

           7
Sheet no. _____     13 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                        5,200.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         James Randall Johnson                                                                               Case No.     13-23089
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                     Notice                                                  E
                                                                                                                                        D

Michigan Dept. of Treasury
Collections                                                                 -
Attn: Bankruptcy Unit
PO Box 30199
Lansing, MI 48909-7699                                                                                                                                        0.00
Account No.                                                                     Medical bill

Michigan Hip Knee Replacement
c/o Cadillac Accounts Receivable                                            -
PO Box 358
Cadillac, MI 49601
                                                                                                                                                       Unknown
Account No.                                                                     Notice

Michigan Unemployment Agency
Tax Office                                                                  -
3024 W. Grand Blvd., Ste. 11-500
Detroit, MI 48202
                                                                                                                                                              0.00
Account No.                                                                     Collection

Midland Credit Managment
8875 Areo Dr. Ste 200                                                       -
Midland, MI 48640

                                                                                                                                                       Unknown
Account No.                                                                     Medical bill

Midland Pathology Associates
c/o CBM Services                                                            -
300 Rodd St. Ste 202
Midland, MI 48640
                                                                                                                                                       Unknown

           8
Sheet no. _____     13 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                              0.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         James Randall Johnson                                                                               Case No.     13-23089
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                     Medcial bill                                            E
                                                                                                                                        D

Midland Radiology Assoc
c/o CBM Services                                                            -
300 Rodd Ste 202
Saginaw, MI 48604
                                                                                                                                                       Unknown
Account No.                                                                     Medical bill

MidMichigan Medical Center
4005 Orchard Drive                                                          -
Midland, MI 48670

                                                                                                                                                        3,000.00
Account No.                                                                     Medical bill

MidMichigan Physicians Group
Orthopedics Midland                                                         -
2618 W Sugnet
Midland, MI 48640
                                                                                                                                                       Unknown
Account No.                                                                     Collection

MNYRCYNTNWD
PO Box 13129                                                                -
Lansing, MI 48901

                                                                                                                                                       Unknown
Account No.                                                                     Medical bill

MRI Midland
c/o CMB Services                                                            -
300 Rodd Street, Ste 202
Midland, MI 48640
                                                                                                                                                       Unknown

           9
Sheet no. _____     13 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                        3,000.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         James Randall Johnson                                                                               Case No.     13-23089
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                     Collection                                              E
                                                                                                                                        D

NCO Financial Group
507 Prudential Rd.                                                          -
Horsham, PA 19044

                                                                                                                                                       Unknown
Account No.                                                                     Medical bill

Northeast Arkansas Clinic
c/o RRC                                                                     -
PO Box 341308
Memphis, TN 38184
                                                                                                                                                           500.00
Account No.                                                                     Invoice

Peabody Landscaping
2122 Mathew Dr                                                              -
Bay City, MI 48706

                                                                                                                                                       Unknown
Account No.                                                                     Notice

Peter Shek
803 N Michigan                                                              -
Saginaw, MI 48602

                                                                                                                                                              0.00
Account No.                                                                     Vet bill

Phillip Engelhardt DVM
6015 Westside Saginaw Road                                                  -
Bay City, MI 48706

                                                                                                                                                           300.00

           10 of _____
Sheet no. _____    13 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                           800.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         James Randall Johnson                                                                               Case No.     13-23089
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                     Collection                                              E
                                                                                                                                        D

Receivables Management, Inc.
PO Box 1385                                                                 -
Saginaw, MI 48605

                                                                                                                                                       Unknown
Account No.                                                                     Collection

Redi Med Bay City
c/o CBM Services, Inc.                                                      -
300 Rodd Ste 202
Midland, MI 48640
                                                                                                                                                           200.00
Account No.                                                                     Medical bill

Rehabilitation Assoc. of Michigan
555 W. Wackerly #3825                                                       -
Midland, MI 48640

                                                                                                                                                           100.00
Account No.                                                                     Collection account

Revenue Recovery
612 Gay Street                                                              -
Knoxville, TN 37902

                                                                                                                                                       Unknown
Account No.                                                                     Collection account

Revenue Recovery
PO Box 341308                                                               -
Memphis, TN 38184

                                                                                                                                                       Unknown

           11 of _____
Sheet no. _____    13 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                           300.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         James Randall Johnson                                                                               Case No.     13-23089
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                     Collection account                                      E
                                                                                                                                        D

RMA/NCO Financial
2675 Breckinridge Blvd                                                      -
Duluth, GA 30096

                                                                                                                                                       Unknown
Account No.                                                                     Collection account

RRC
PO Box 341308                                                               -
Memphis, TN 38184

                                                                                                                                                       Unknown
Account No.                                                                     Notice

Sprint
PO Box 4191                                                                 -
Carol Stream, IL 60197-4191

                                                                                                                                                           500.00
Account No.                                                                     Collection account

Tek Collect
PO Box 1269                                                                 -
Columbus, OH 43216

                                                                                                                                                       Unknown
Account No.                                                                     Notice

Thomas Anthony
PO Box 2009                                                                 -
Mount Pleasant, MI 48804

                                                                                                                                                              0.00

           12 of _____
Sheet no. _____    13 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                           500.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         James Randall Johnson                                                                                     Case No.      13-23089
                                                                                                                  ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                             C   U   D
                   CREDITOR'S NAME,                                     O                                                                  O   N   I
                   MAILING ADDRESS                                      D   H                                                              N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                        B                                                                  I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                  (See instructions above.)                             R                                                                  E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No.                                                                     Notice                                                         E
                                                                                                                                               D

Trott & Trott
31440 Northwestern Highway #200                                             -
Farmington, MI 48334

                                                                                                                                                              Unknown
Account No.                                                                     Notice

US Attorneys Office - E. Dist. of Mich.
Attn: Civil Division                                                        -
600 Church Street
Flint, MI 48502
                                                                                                                                                                     0.00
Account No.                                                                     Vetbill

Valley Animal Clinic Auburn
c/o Credit Services of Michigan                                             -
1982 Hemmeter
Saginaw, MI 48603
                                                                                                                                                                  300.00
Account No.                                                                     Credit card

Visa
PO Box 672051                                                               -
Dallas, TX 75267

                                                                                                                                                              Unknown
Account No.




           13 of _____
Sheet no. _____    13 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                  300.00
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)
                                                                                                                                           Total
                                                                                                                 (Report on Summary of Schedules)            380,390.00


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B6G (Official Form 6G) (12/07)


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  In re             James Randall Johnson                                                                       Case No.        13-23089
                                                                                                      ,
                                                                                    Debtor

                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                      Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                 State contract number of any government contract.




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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B6H (Official Form 6H) (12/07)


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  In re          James Randall Johnson                                                                   Case No.       13-23089
                                                                                               ,
                                                                                   Debtor

                                                                   SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                        NAME AND ADDRESS OF CREDITOR




       0
               continuation sheets attached to Schedule of Codebtors
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Fill in this information to identify your case:

Debtor 1                      James Randall Johnson

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:       EASTERN DISTRICT OF MICHIGAN

Case number               13-23089                                                                     Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing post-petition chapter
                                                                                                           13 income as of the following date:

Official Form B 6I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/13
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
                                             Employment status
       attach a separate page with                                                                               Not employed
                                                                      Not employed
       information about additional
       employers.                            Occupation            Teacher
       Include part-time, seasonal, or
                                             Employer's name       Northwood University
       self-employed work.

       Occupation may include student        Employer's address
       or homemaker, if it applies.                                Midland, MI

                                             How long employed there?         2+ yrs

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.    $        1,878.50         $            N/A

3.     Estimate and list monthly overtime pay.                                             3.   +$              0.00       +$           N/A

4.     Calculate gross Income. Add line 2 + line 3.                                        4.    $      1,878.50               $      N/A




Official Form B 6I
               13-23089-dob             Doc 10       Filed 12/11/13Schedule I: Your Income
                                                                       Entered       12/11/13 19:36:56                     Page 24 of 28         page 1
                                                                                                                                                  12/11/13 7:11PM




Debtor 1    James Randall Johnson                                                                 Case number (if known)    13-23089


                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse
      Copy line 4 here                                                                     4.         $      1,878.50       $             N/A

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.        $        216.67       $               N/A
      5b.   Mandatory contributions for retirement plans                                   5b.        $          0.00       $               N/A
      5c.   Voluntary contributions for retirement plans                                   5c.        $          0.00       $               N/A
      5d.   Required repayments of retirement fund loans                                   5d.        $          0.00       $               N/A
      5e.   Insurance                                                                      5e.        $          0.00       $               N/A
      5f.   Domestic support obligations                                                   5f.        $          0.00       $               N/A
      5g.   Union dues                                                                     5g.        $          0.00       $               N/A
      5h.   Other deductions. Specify:                                                     5h.+       $          0.00 +     $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $            216.67       $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          1,661.83       $               N/A
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00   $               N/A
      8b. Interest and dividends                                                           8b.        $              0.00   $               N/A
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00   $               N/A
      8d. Unemployment compensation                                                        8d.        $              0.00   $               N/A
      8e. Social Security                                                                  8e.        $              0.00   $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                0.00   $                   N/A
      8g. Pension or retirement income                                                     8g. $                 0.00   $                   N/A
      8h. Other monthly income. Specify: SVSU honorarium                                   8h.+ $              100.00 + $                   N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $            100.00       $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              1,761.83 + $           N/A = $          1,761.83
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                 11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.   $         1,761.83
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form B 6I
            13-23089-dob             Doc 10       Filed 12/11/13Schedule I: Your Income
                                                                    Entered       12/11/13 19:36:56                         Page 25 of 28           page 2
                                                                                                                                                          12/11/13 7:11PM




Fill in this information to identify your case:

Debtor 1              James Randall Johnson                                                              Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing post-petition chapter 13
(Spouse, if filing)                                                                                            expenses as of the following date:

United States Bankruptcy Court for the:        EASTERN DISTRICT OF MICHIGAN                                        MM / DD / YYYY

Case number       13-23089                                                                                     A separate filing for Debtor 2 because Debtor 2
(If known)                                                                                                     maintains a separate household




Official Form B 6J
Schedule J: Your Expenses                                                                                                                                      12/13
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:    Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                  No
                  Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?             No
      Do not list Debtor 1 and           Yes. Fill out this information for     Dependent’s relationship to           Dependent’s        Does dependent
      Debtor 2.                       each dependent...........                 Debtor 1 or Debtor 2                  age                live with you?
      Do not state the dependents'                                                                                                           No
      names.                                                                                                                                 Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                    No
      expenses of people other than
      yourself and your dependents?               Yes

Part 2:     Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 6I.)                                          Your expenses

4.    The rental or home ownership expenses for your residence. Include first mortgage payments
      and any rent for the ground or lot.                                                                 4. $                                300.00

      If not included in line 4:

      4a.   Real estate taxes                                                                            4a.   $                                   0.00
      4b.   Property, homeowner’s, or renter’s insurance                                                 4b.   $                                   0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                4c.   $                                   0.00
      4d.   Homeowner’s association or condominium dues                                                  4d.   $                                   0.00
5.    Additional mortgage payments for your residence, such as home equity loans                          5.   $                                   0.00




Official Form B 6J                                                  Schedule J: Your Expenses                                                  page 1
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Debtor 1      James Randall Johnson                                                                                Case number (if known)           13-23089

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                          6a. $                                                            0.00
      6b.     Water, sewer, garbage collection                                                        6b. $                                                            0.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                          6c. $                                                            0.00
      6d.     Other. Specify: Cell phone, internet, cable                                             6d. $                                                          100.00
7.    Food and housekeeping supplies                                                                   7. $                                                          300.00
8.    Childcare and children’s education costs                                                         8. $                                                            0.00
9.    Clothing, laundry, and dry cleaning                                                              9. $                                                          100.00
10.   Personal care products and services                                                             10. $                                                            0.00
11.   Medical and dental expenses                                                                     11. $                                                          200.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                                    12. $                                                          350.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                              13. $                                                           50.00
14.   Charitable contributions and religious donations                                                14. $                                                            0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                            15a. $                                                             0.00
      15b. Health insurance                                                                          15b. $                                                             0.00
      15c. Vehicle insurance                                                                         15c. $                                                             0.00
      15d. Other insurance. Specify:                                                                 15d. $                                                             0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                        16. $                                                             0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                17a. $                                                            0.00
      17b. Car payments for Vehicle 2                                                                17b. $                                                            0.00
      17c. Other. Specify: School loans                                                              17c. $                                                          300.00
      17d. Other. Specify:                                                                           17d. $                                                            0.00
18.   Your payments of alimony, maintenance, and support that you did not report as deducted
      from your pay on line 5, Schedule I, Your Income (Official Form 6I).                            18. $                                                             0.00
19.   Other payments you make to support others who do not live with you.                                 $                                                             0.00
      Specify:                                                                                        19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                               20a. $                                                             0.00
      20b. Real estate taxes                                                                         20b. $                                                             0.00
      20c. Property, homeowner’s, or renter’s insurance                                              20c. $                                                             0.00
      20d. Maintenance, repair, and upkeep expenses                                                  20d. $                                                             0.00
      20e. Homeowner’s association or condominium dues                                               20e. $                                                             0.00
21.   Other: Specify:                                                                                 21. +$                                                            0.00
22. Your monthly expenses. Add lines 4 through 21.                                                                        22.      $                           1,700.00
    The result is your monthly expenses.
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                                    23a. $                                   1,761.83
    23b. Copy your monthly expenses from line 22 above.                                                                  23b. -$                                  1,700.00

      23c.    Subtract your monthly expenses from your monthly income.
              The result is your monthly net income.                                                                     23c. $                                       61.83

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a modification to the terms of
      your mortgage?
           No.
           Yes. Explain:




Official Form B 6J                                                         Schedule J: Your Expenses                                                                  page 2
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B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                              United States Bankruptcy Court
                                                                     Eastern District of Michigan
 In re      James Randall Johnson                                                                                     Case No.        13-23089
                                                                                    Debtor(s)                         Chapter         7

                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                               29       sheets, and that
they are true and correct to the best of my knowledge, information, and belief.

 Date      December 11, 2013                                                          Signature:      /s/ James Randall Johnson
                                                                                                                           Debtor

 Date                                                                                 Signature:
                                                                                                                            (Joint Debtor, if any)
                                                                                           [If joint case, both spouses must sign.]



        DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
          I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document
for compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
110(h) and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a
debtor or accepting any fee from the debtor, as required by that section.

 Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                            Social Security No. (Required by 11 U.S.C. § 110.)
If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
responsible person, or partner who signs this document.


Address
 X
 Signature of Bankruptcy Petition Preparer                                                                         Date

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition
preparer is not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.
A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines
or imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.

         DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP

     I, the     [the president or other officer or an authorized agent of the corporation or a member or an authorized agent of
the partnership] of the       [corporation or partnership] named as a debtor in this case, declare under penalty of perjury that I
have read the foregoing summary and schedules, consisting of          sheets [total shown on summary page plus 1], and that
they are true and correct to the best of my knowledge, information, and belief.

 Date                                                                                 Signature:

                                                                                                       [Print or type name of individual signing on behalf of debtor]

                            [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]

Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.




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